Case 2:19-cr-20026-GAD-EAS ECF No. 91 filed 08/15/19       PageID.396    Page 1 of 25



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

  United States of America,                  No. 19-20026-1

               Plaintiff,                    Hon. Gershwin A. Drain
  v.
                                             Offense:
  D-1 Bharath Kakireddy,                     18 U.S.C. § 371
                                             Conspiracy to commit visa fraud and
               Defendant.                    harbor aliens for profit

                                             Maximum Penalty: Up to 5 years

                                             Maximum Fine: $250,000

                                             Supervised Release:
                                             Up to 3 years


             GOVERNMENT’S SENTENCING MEMORANDUM

       Defendant Bharath Kakireddy is a foreign citizen who abused the student visa

program so that he could remain and work in the United States illegally. Moreover,

he and his co-conspirators recruited at least 600 foreign students to do the same.

Kakireddy is criminally responsible for the recruitment of over 100 students, 93 of

which he personally recruited, and in return for his recruitment efforts, he received

at least $32,000 in profits. (Exhibit 1). Accordingly, the United States of America

respectfully recommends that the Court impose a sentence within Kakireddy’s
Case 2:19-cr-20026-GAD-EAS ECF No. 91 filed 08/15/19         PageID.397    Page 2 of 25



guidelines range of 37–46 months. Such a sentence is necessary in light of the

seriousness of the offense, the need to punish Kakireddy, deter Kakireddy and others

from committing the same misconduct, Kakireddy’s personal characteristics and to

avoid unwarranted sentencing disparities.

  I.   BACKGROUND

       Defendant Bharath Kakireddy is a citizen of India who first traveled to the

United States in 2014 on a temporary student visa known as an F-1 visa. (PSR ¶¶¶

9, 43 and 51). Before he could obtain his F-1 visa, Kakireddy applied to study in the

United States at a university through the Student and Exchange Visitor Program

(“SEVP”), which is overseen by the Department of Homeland Security. (Id. at ¶ 10–

11). Once accepted by a university—in this case Atlantis University—the school

issued a “Certificate of Eligibility for Nonimmigrant Student Status,” better known

as a Form I-20. (Id. at ¶¶ 10–11, 51).

       Kakireddy’s Form I-20 permitted him to enter the United States, (Id. at ¶ 12),

which he first did in 2014. (R.78: Plea Hrg. Tr., 185); (Post Arrest Interview). While

in the United States, he used his Form I-20 for identification and proof of legal and

academic status in the United States, and it also allowed for him to travel abroad and

return to the United States. (Id. at ¶ 12). For his Form I-20 to remain valid, Kakireddy

knew that he needed to maintain his status as a full-time student “making progress

toward completion of [his] field of study,” whether at his original school or any

                                           2
Case 2:19-cr-20026-GAD-EAS ECF No. 91 filed 08/15/19         PageID.398    Page 3 of 25



school to which he later transferred. (Id. at ¶ 11); (R.78: Plea Hrg. Tr., 185).

      Kakireddy’s visa and Form I-20 also permitted him to participate in curricular

practical training (“CPT”), which allowed him to find gainful employment as long

as he continued to attend classes and make academic progress toward his degree.

(PSR, ¶ 15).

      From February 2017 through January 2019, undercover agents from

Homeland Security Investigations (“HSI”) posed as employees of the University of

Farmington (“the University”), located in Farmington Hills, Michigan. (PSR at ¶ 16-

17). The University had no instructors, no classes, and no educational activities.

Rather, it was a fictitious university used by foreign citizens as a “pay to stay”

scheme. Id.    Under the “pay to stay” scheme, foreign citizens would enroll with

the University as “students,” but they would take no classes nor attend any

educational programs; instead, they would pay tuition so that the University would

issue them Form I-20’s that identified them as students making progress toward a

degree, and if they desired, they could also seek gainful employment through the

CPT program. Id.

      On May 8, 2017, Kakireddy contacted the University to discuss enrolling in

the University without attending classes in order to fraudulently maintain his

immigration status. He told the Undercover Agent (UCA) that he and his friends

were just looking for a way to maintain status and were not interested in attending

                                           3
Case 2:19-cr-20026-GAD-EAS ECF No. 91 filed 08/15/19                                    PageID.399           Page 4 of 25



classes. Kakireddy was told the arrangement was not approved by the Department

of Homeland Security. 1 Below is an excerpt of that conversation:

                    UCA:                                  It’s, uh, not approved by the Department of
                                                          Homeland Security. It would ah…We, on
                                                          our end, would consider you a student. But
                                                          you wouldn’t have to come to a class ...

                    Kakireddy:                            Uh-huh

                    UCA:                                  …and we like to keep it between you and us.
                                                          And..since you are a friend of Santosh we
                                                          could offer it to you…

                    Karideddy:                            Uh-huh

                    UCA                                   … if that is something you are interested in.
                                                          We do offer the day one CPT. And we can
                                                          get you enrolled and transferred over to us
                                                          before May nineteenth.

                    Karideddy:                            Uh-huh….yeah, that’s great….


(Recorded conversation excerpt, 5/8/17)


          Later that day, Kakireddy called the University to negotiate his tuition and a

fee reduction in the event his friends joined: “If I bring, like 5 people, how much can



1
    It should also be noted that Kakireddy acknowledged during his May 2, 2019 guilty plea that he knew the arrangement was
illegal and not approved by the Department of Homeland Security:

          MR. STEINGOLD:                        You knew that the arrangement was not approved by the Department of
                                                Homeland Security and was illegal, right?
          KAKIREDDY:                            Yes.

(R.78: Plea Hrg. Tr., 188, Lines 1-4).

                                                              4
Case 2:19-cr-20026-GAD-EAS ECF No. 91 filed 08/15/19                         PageID.400          Page 5 of 25



you reduce it for me?” (Recorded phone call 5/8/17 -2). On May 15, 2017,

Kakireddy submitted his application for admission into the University of

Farmington. (Exhibit 2).

      In the days and weeks that followed, Kakireddy continued his conversations

with University officials regarding his enrollment in the school and to see if he could

receive “a bonus” or have his fees reduced for recruiting multiple students to the

school. For example, on June 14, 2017, Kakireddy sent the following email to the

University:
                    From: Bharath k
                    To: Admissions; ali.milani@universityoffarmington.edu
                    Subject: Details of Students for Admissions
                    Date: Wednesday, June 14, 2017 10:43:31 AM

                    ______________________________________________________


                    Hello Ali Mialini ,
                    Hope you are doing good .

                    Please find the Details for Admissions of my friends Below as preference by me. As per our
                    Telephonic conservation before and Today morning.I am sending the Details below. And update
                    me on my Bonus amount Too reduction from 7000$. I am Going to send you some more
                    application Soon.So please try to send the Acceptance letters as soon as possible.

                    Details -

                    1.First name: Avinash
                    Last name :Balusu
                    Email: balusu333@gmail.com

                    2.First name: Sai kiran
                    Last name: katragadda
                    Email : saikirankatragadda777@gmail.com

                    3. First name: Naga Anjaneyulu
                    Last name : Dale
                    Email: daleanji@gmail.com

                    Thanks,
                    Bharath




Kakireddy eventually reached an agreement with the University whereby he would

                                                        5
Case 2:19-cr-20026-GAD-EAS ECF No. 91 filed 08/15/19        PageID.401    Page 6 of 25



receive a referral fee of $500 per student based on the number of students he

recruited. (Recorded phone call 7/17/17).

      In total, this conspiracy recruited over 600 foreign students to the University

of Farmington. PSR ¶ 23. Kakireddy personally recruited at least ninety-three (93)

students, and he also received cash payments of at least $32,000 from the University

in addition to tuition credits. (Id. at ¶ 21). Below, Kakireddy can be seen collecting

the first payment of $5,000.00 for recruiting students from an HSI agent (whose

image is obscured):




      Kakireddy has pled guilty to conspiring to commit visa fraud (18 U.S.C.

§ 1546(a)) and harboring aliens for profit (8 U.S.C. § 1324) in violation of 18 U.S.C.

§ 371—without the benefit of a Rule 11 agreement, although the government did

offer one. (PSR, ¶¶ 1, 4). Kakireddy’s co-conspirators are the foreign citizen

“students” he recruited and his co-defendants. (Id. at ¶¶ 18, 19).

      The maximum sentence for his offense is not more than five years’
                                          6
Case 2:19-cr-20026-GAD-EAS ECF No. 91 filed 08/15/19       PageID.402    Page 7 of 25



imprisonment, a maximum fine of $250,000, and an applicable term of supervised

up to three years. (PSR, p. 2; ¶¶ 53, 56, 61).

 II.   SENTENCING GUIDELINES CALCULATIONS AND § 3553(a)
       FACTORS

       Kakireddy’s Sentencing Guidelines

       The government believes that Kakireddy’s total offense level is 21 and his

criminal history category is I, which results in a guideline range of 37–46 months.

However, the government expects that the United States Probation Department will

ultimately calculate the range at 18-24 months. The difference between Probation’s

guidelines and the Rule 11 is two-fold. First, the Probation Department only assessed

6 points under USSG § 2L1.1(b)(2)(B) as the defendant harbored between 25-99

unlawful aliens. In the government’s view, Kakireddy should be assessed 9 points

as the conspiracy harbored over 600 unlawful aliens and he is responsible for acts of

other conspirators that are reasonably foreseeable and within the scope of jointly

undertaken criminal activity.      Second, the Probation Department found that

Kakireddy was not a manager or supervisor. Because Kakireddy managed and

supervised the recruitment process of at least 93 unlawful aliens, Kakireddy should

be assessed 3 points under USSG § 3B1.1(a).

a.     Defendant harbored 100 aliens or more

       Kakireddy argues that he should only be assessed 6 points under USSG §


                                           7
Case 2:19-cr-20026-GAD-EAS ECF No. 91 filed 08/15/19         PageID.403   Page 8 of 25



2L1.1(b)(2)(B) for harboring between 25-99 aliens because he personally recruited

93 students. However, the conspiracy as a whole harbored over 100 aliens (R.1:

Indictment, 1). Because Kakireddy is responsible for the acts of other conspirators

that are within the scope of jointly undertaken criminal activity and reasonably

foreseeable, he should be assessed 9 points under USSG § 2L1.1(b)(2)(C) for

harboring 100 or more aliens.

      USSG § 1B1.3(B) provides that relevant conduct includes:

      “In the case of jointly undertaken criminal activity (a criminal plan,
      scheme, endeavor, or enterprise undertaken by the defendant in concert
      with other, whether or not charged as a conspiracy), all acts or
      omissions of others that were-

            (i)     within the scope of the jointly undertaken criminal
                    activity,

            (ii)    in furtherance of that criminal activity, and

            (iii)   reasonably foreseeable in connection with that criminal
                    activity;

      that occurred during the commission of the offense of conviction, in
      preparation for that offense, or in the course of attempting to avoid
      detection or responsibility for the crime.

      Conduct of others “that meets all three criteria set forth in subdivisions (i)

through (iii)”—i.e. is “within the scope” of, “in furtherance” of, and “reasonably

foreseeable” in connection with jointly undertaken criminal activity—“is relevant

conduct under this provision” for which a defendant may be held accountable.


                                          8
Case 2:19-cr-20026-GAD-EAS ECF No. 91 filed 08/15/19        PageID.404     Page 9 of 25



U.S.S.G. § 1B1.3 cmt. n.3(A). In order to determine whether these criteria are met,

this Court must first determine the scope of the criminal activity the particular

defendant agreed to undertake. Id. n.3(B).

      In United States v. Donadeo, 910 F.3d 886, 895-896 (6th Cir. 2018), the Sixth

Circuit adopted the Seventh Circuit’s relevant factors list in United States v. Salem,

657 F.3d 560, (7th Cir. 2011) to determine the scope of the criminal activity a

defendant agreed to jointly undertake. The factors include: “(1) the existence of a

single scheme; (2) similarities in modus operandi; (3) coordination of activities

among schemers; (4) pooling of resources or profits; (5) knowledge of the scope of

the scheme; and (6) length and degree of the defendant’s participation in the scheme.

Id. at 895.

      In this case, the factors support a finding that the scope of Kakireddy’s jointly

undertaken criminal activity is broad enough to include the conduct of his co-

conspirator, Santosh Sama – who alone recruited almost 500 students. United States

v. Sama, 19-cr-20026 – (R.80: Plea Tr. 271).

      First, Kakireddy and Sama were engaged in a single scheme with a shared

objective - to refer students to the University of Farmington in exchange for money

or reductions in tuition. Second, Kakireddy and Sama harbored aliens in the same

manner; they facilitated the receipt of fraudulent I-20’s for their “students” knowing

that these aliens remained in the United States in violation of law. Kakireddy and

                                          9
Case 2:19-cr-20026-GAD-EAS ECF No. 91 filed 08/15/19                      PageID.405   Page 10 of 25



 Sama also coordinated their activities. Kakireddy was referred to the University by

 Sama. (R.78: Plea Tr. 189-190). In addition, during his plea colloquy, Kakireddy

 acknowledged working with Sama to recruit students:

       MR. STEINGOLD:                Well, the person that – one of the people that you
                                     worked with was Defendant Santosh Reddy Sama,
                                     correct?
       KAKIREDDY:                    Yes. He is the one who gave me the admission.

                                     ….

       MR. STEINGOLD:                You did not know their names but you know that
                                     other people did the same thing as you and Santosh?
       KAKIREDDY:                    Yeah.
       MR. STEINGOLD:                And that is that you were recruiting students and
                                     you were trying to get paid for it?
       KAKIREDDY:                    Yes.

       Perhaps the best example of their coordination was their assistance to the same

 student, Shashikanth Konjarla, as illustrated in the emails below:

                           From: Bharath k
                           To: Ali Milani
                           Subject: Re: Tuition fee
                           Date: Thursday, February 15, 2018 2:14:56 PM


                           Hello Mr Ali ,

                           Any update on the fee receipt.Please try to deduct the money from
                           my account and add to my friend names below.And send me the
                           invoices so that I can share them .And I have sent you the list of
                           students to you 2 weeks back.And my friend Shashi kanth konjarla
                           received email from university today to pay fee if not his sevis will
                           terminate so please try to deduct fee from my account of the below
                           two students.i am trying to call you since 1 week on call but it
                           seems you are busy.please call me once if you get a chance on my
                           number 224-360-9800.

                           1. Shashikanth konjarla( student id 20170602411)tejswi banda
                           2.sai Tejaswi Banda
                                                  10
Case 2:19-cr-20026-GAD-EAS ECF No. 91 filed 08/15/19         PageID.406     Page 11 of 25




                         Thanks
                         Bharath

                         From: santoshreddy sama
                         Sent: Monday, June 5, 2017 1:39 PM
                         To: ali.milani@universityoffarmington.edu
                         Subject: New candidate

                         First name: Arjun reddy
                         Last name : Dendi
                         Email Id:dendiarjun@gmail.com
                         (7000$)
                         First name: Shashikanth
                         Last name konjarla
                         Shashikanth.konjarla@gmail.com. Please send him i20 and I'd card
                         ASAP he was in job so he needs cpt i20 immediately, his sevis has
                         been transferred to u , please check it and do it
                         fast .

                         Thank you

 There is no evidence that Kakireddy and Sama pooled their resources. The fifth

 factor is the knowledge and scope of the scheme. As noted above, Kakireddy

 admitted working with Sama and knew that he, and others, were recruiting students

 to the University for money. This factor supports a finding that the scope of

 Kakireddy’s jointly undertaken criminal activity was broad enough to include

 Sama’s conduct. The last factor is the length and degree of the defendant’s

 participation in the scheme. Kakireddy participated in this scheme for almost 18

 months during which he recruited 93 students, only second in number to Sama.

       Furthermore, the acts of Sama were reasonably foreseeable to Kakireddy.

 Sama referred Kakireddy to the University. (R.78, Plea Tr., 189-190). Kakireddy

 worked with Sama to recruit students. Id. And Kakireddy knew that Sama was also
                                         11
Case 2:19-cr-20026-GAD-EAS ECF No. 91 filed 08/15/19        PageID.407    Page 12 of 25



 recruiting students. Id. “[A]ctual knowledge necessarily satisfies the lesser

 reasonable-foreseeability standard.” United States v. Anderson, 795 F.3d 613, 617

 (6th Cir. 2015). As such, in connection with his criminal activity, Kakireddy could

 have reasonably foreseen that Sama’s conduct included the harboring of at least 7

 additional students to the University – bringing his total number of harbored students

 to 100 or more. Therefore, Kakireddy should be assessed 9 points under USSG §

 2L1.1(b)(2)(C) for harboring 100 or more aliens.

 ii.   Kakireddy was a manager or supervisor under § 3B1.1(b) or, alternatively an
       organizer under § 3B1.1(c)

       To qualify for a 3-point enhancement under USSG § 3B1.1(b), Kakireddy

 must have a managed or supervised one or more of the participants and the criminal

 activity must have involved five or more participants or was otherwise extensive.

 USSG § 3B1.1(b); cmt. 2. “The burden of proving when the enhancement is

 appropriate is low: “‘[T]here need only be evidence to support a finding that the

 defendant was a manager or supervisor of at least one other participant in the

 criminal activity....’ ”” United States v. Beard, 394 Fed. Appx. 200, 205 (6th Cir.

 2010) (quoting United States v. Henley, 360 F.3d 509, 517 (6th Cir. 2004)). Control

 of subordinates is not necessary; Kakireddy need only supervise or manage them.

 United States v. Johnson, 736 Fed. Appx. 568, 572 (6th Cir. 2018).

       In determining the defendant’s organizational role, and distinguishing


                                          12
Case 2:19-cr-20026-GAD-EAS ECF No. 91 filed 08/15/19                          PageID.408   Page 13 of 25



 between a leader and manager, Application Note 4 of § 3B1.1 identifies a number

 of non-exhaustive factors the Court can consider, including “the exercise of decision

 making authority, the nature of participation in the commission of the offense, the

 recruitment of accomplices, the claimed right to a larger share of the fruits of the

 crime, the degree of participation in planning or organizing the offense, the nature

 and scope of the illegal activity, and the degree of control and authority exercised

 over others.” See also United States v. Lalonde, 509 F. 3d 750, 765-66 (6th Cir.

 2007).

       Here, Kakireddy’s 93 recruited students are undoubtedly participants in the

 criminal activity. Beyond recruiting these students to the University of Farmington

 in exchange for at least $32,000, Kakireddy managed all of their paperwork,

 submitted the student’s applications, received their acceptance letters, arranged their

 “start” date, requested deferrals on student’s behalf, and facilitated the acceptance

 of fee receipts/SEVIS transfers.

 Among many others, the emails below illustrate Kakireddy’s managerial role:
                     From: Bharath k
                     To: Admissions; Ali Milani
                     Subject: Re: February Intake Applications
                     Date: Tuesday, January 16, 2018 7:41:02 PM
                     Attachments:      Sandeep Soudari Admission Letter.pdf
                                       Rohit Vedire Admission Letter.pdf
                                       UF Intl Application_Ankam.pdf
                                       UF Intl Application_Polepalli.pdf
                                       UF Intl Application_Ega.pdf
                                       UF Intl Application_Jadhav.pdf
                                       UF Intl Application_Mannava.pdf
                                       UF Intl Application_Nandula.pdf




                                                   13
Case 2:19-cr-20026-GAD-EAS ECF No. 91 filed 08/15/19                                 PageID.409            Page 14 of 25



                        Hello Mr Ali ,
                        Please find the Attachments of the Application Forms for the Feb intake and Among That Two has
                        acceptance Letters (Rohit & Sandeep)for January and try need the new Acceptance Letters for
                        February Intake with the updated date of start date.

                        And second thing is Please try to deduct the money from my account add to my friend name Sunil
                        kandakatla with student id 20170996312 has to pay his tuition fee due by 12/29/2017. And try to
                        send me his fee receipt as well so that I can share him. Regarding This we has spoken in December.

                        First name : Sandeep kumar
                        Last name : Soudari
                        Email id : sandeep.chandra96@gmail.com

                        First name : Rohit
                        Last name : Vedire
                        Email id : vedirerohit@gmail.com

                        First name :Haripriya
                        Last name :Ankam
                        Email : haripriya.ankam@gmail.com

                        First name : Surendra
                        Last name : Polepalli
                        Email : surendra0814@gmail.com

                        First name : Ranveer
                        Last name : Ega
                        Email : egaranveerreddy@gmail.com

                        First name : Krishna Kanth Rao
                        Last name : Jadhav
                        Email : Krishnamsitm@gmail.com

                        First name : Supriya
                        Last name : Mannava
                        Email : supriyamsitm@gmail.com

                        First name : Chaitanya Kumar
                        Last name : Nandula
                        Email : nandulachaitanya2@gmail.com

                        Thanks,
                        Bharath

 ________________________________________________________________________________________________________



                        From: Bharath k
                        Sent: Monday, November 27, 2017 12:59 PM
                        To: Admissions; Ali Milani
                        Subject: Re: Admission

                        Hello mr Ali,

                        Please send me the acceptance letters of the the applications which I have
                        shared you and please send the acceptance letter of Lalithanand as soon as you
                        for this semester so that he can transfer the sevis immediately and rest for the
                        Jan intake.

                        First name : Lalithanand
                        Last name : Manne
                                                         14
Case 2:19-cr-20026-GAD-EAS ECF No. 91 filed 08/15/19                                PageID.410            Page 15 of 25



                        Email id : m.lallichowdary527@gmail.com

 ________________________________________________________________________________________________________

                        From: Bharath k
                        To: Ali Milani
                        Subject: Fee payment Sagar Kumar Devara
                        Date: Friday, October 20, 2017 12:13:51 PM

                        Hello Mr Ali ,

                        One of my friend Sagar Kumar Devara with Email id sagarkumar.devara@gmail.com .He Didn't
                        Got Fee receipt For Paying the fee Please send him the fee receipt invoice so that he can pay the
                        fee. He has send you the email regarding it please try to send him the invoice for the fee payment.

                        Thanks,
                        Bharath

        The 3553(a) Factors

        In determining an appropriate sentence, the Court should use the Sentencing

 Guidelines as a “starting point and the initial benchmark.” United States v. Lalonde,

 509 F.3d 750, 763 (6th Cir. 2007) (quoting Gall v. United States, 552 U.S. 38, 49

 (2007)). Indeed, a sentence within the guidelines range carries a “rebuttable

 presumption of reasonableness.” United States v. Buchanan, 449 F.3d 731, 734 (6th

 Cir. 2006). This is so because the guidelines “represent nearly two decades of

 considered judgment about the range of sentences appropriate for certain offenses.”

 (Id. at 736) (Sutton, J., concurring). In particular, the guidelines aggregate the

 “sentencing experiences of individual judges, the administrative expertise of the

 [Sentencing] Commission, and the input of Congress….” Id.

        Beyond the Guidelines, the Court should consider all of the factors set forth

 in 18 U.S.C. § 3553(a). Gall, 552 U.S. at 49–50. The § 3553(a) factors include:

        (1) the nature and circumstances of the offense and the history and
        characteristics of the defendant;
                                                         15
Case 2:19-cr-20026-GAD-EAS ECF No. 91 filed 08/15/19       PageID.411    Page 16 of 25



       (2) the need for the sentence imposed—
              (A) to reflect the seriousness of the offense, to promote respect
              for the law, and to provide just punishment for the offense;
              (B) to afford adequate deterrence to criminal conduct;
              (C) to protect the public from further crimes of the defendant;
              and
              (D) to provide the defendant with needed educational or
              vocational training, medical care, or other correctional
              treatment in the most effective manner; [and]
                                       ***
       (6) the need to avoid unwanted sentence disparities among defendants
       with similar records who have been found guilty of similar conduct….

 18 U.S.C. § 3553(a).

       Kakireddy’s conduct in this case demonstrates why a sentence within the

 guidelines is appropriate. Kakireddy may suggest his role in committing fraud and

 harboring illegal aliens for profit stemmed from his attempt to help foreign national

 students obtain an education—including for some students who sought to transfer

 from schools that were in danger of losing their accreditation. 2 But his and his

 students’ aims were not so noble.

       Their true intent could not be clearer. While “enrolled” at the University, one

 hundred percent of the foreign citizen students never spent a single second in a


 2
   These schools cater to “students” who want to exploit our foreign student
 education program. While they are the exception rather than the rule, unfortunately
 they do exist. Some of the “pay to stay” schools located around the United States
 that have been exposed over the years are: Prodee University; Neo-America
 Language School; Walter Jay M.D. Institute; the American College of Forensic
 Studies; Likie Fashion and Technology College; Tri-Valley University; Herguan
 University; the University of Northern Virginia; and the American College of
 Commerce and Technology.
                                          16
Case 2:19-cr-20026-GAD-EAS ECF No. 91 filed 08/15/19        PageID.412    Page 17 of 25



 classroom. If it were truly about obtaining an education, the University would not

 have been able to attract anyone, because it had no teachers, classes, or educational

 services. Instead, Kakireddy and the foreign nationals he recruited wanted to commit

 a fraud upon the United States. At the outset, Kakireddy informed his recruits there

 would be no classes and no education. The “students” willingly paid thousands of

 dollars to the undercover agents so that they could obtain fraudulent documents

 (Form I-20’s) that would allow them to illegally stay, re-enter, and work in the

 United States.

       But Kakireddy’s conduct was much more offensive than that of his recruits.

 Once he knew exactly what the University was—a fraud—he, not the University,

 raised the idea of recruiting other students who would be willing to commit fraud.

 He did so in order to make money. Specifically, in exchange for finding, enlisting,

 and managing all of the paperwork for others to illegally remain in the United States,

 he received more than $32,000 in profits and tuition credits. Hence, his illegal

 arrangement with the University proved to be quite profitable for him.

       Therefore, Kakireddy’s conduct necessitates a guidelines sentence, and there

 are no legitimate reasons to vary below that range. (PSR ¶ 71.). Nonetheless, under

 our immigration laws, Kakireddy must be sentenced to at least 12 months in custody

 to permanently bar him from re-entering the United States. Such a bar is certainly

 fitting in this case, since Kakireddy intentionally exploited our student visa system

                                          17
Case 2:19-cr-20026-GAD-EAS ECF No. 91 filed 08/15/19         PageID.413    Page 18 of 25



 for his own financial gain. He did so with the full knowledge that most of his recruits

 wanted to illegally enter the United States job market while unlawfully remaining in

 the United States. As a direct result of his actions, his recruited students—who were

 illegally working in the United States—deprived otherwise qualified individuals of

 employment or training opportunities.

       A.     Sentencing Reform Act factors

              1.     Seriousness of the offense

       Kakireddy’s decision to conspire to harbor aliens and commit visa fraud is a

 serious offense, as indicated by Congress’s decision to authorize up to five years in

 prison for the offense. See 18 U.S.C. § 371; (PSR, ¶ 57). Specifically in this case,

 the F-1 student visa program is designed to promote and encourage foreign students

 to study at American institutions. (PSR, ¶ 9–15). Once they finish their course of

 study, the students must leave within 15 days. (Id. at ¶ 13). The idea is that the

 students return to their native countries to share their new knowledge and skills for

 the betterment of themselves and their country. Accordingly, the F-1 student visa

 program is not a naturalization program—i.e., it is not intended to be a path to

 obtaining U.S. citizenship.

       If he receives a guidelines sentence, Kakireddy will be deported once he

 serves his sentence, and he will be permanently barred from returning to the United

 States in the future. And even without a permanent bar from a guidelines sentence,

                                           18
Case 2:19-cr-20026-GAD-EAS ECF No. 91 filed 08/15/19         PageID.414    Page 19 of 25



 Kakireddy will likely be deported, and there is no way to know whether he will

 return to the United States. Yet his likely deportation should not trigger a variance

 windfall.

        The Sixth Circuit has been clear that 18 U.S.C. § 3553 requires that the

 defendant’s sentence reflect the seriousness of the offense, promote respect for the

 law, and provide just punishment. United States v. Musgrave, 761 F.3d 602, 608 (6th

 Cir. 2014). Deportation is not part of the defendant’s sentence. Many things that

 happen to a defendant following his conviction and sentence are “impermissible

 facts” in determining a sentence. Id. Things such as losing a professional license,

 paying legal fees, suffering embarrassment or a damaged reputation, or as is the case

 here, being deported, are not part of this Court’s sentence. “None of these things

 are [the defendant’s] sentence. Nor are they consequences of his sentence,” and a

 district court should therefore sentence the defendant “without considering these

 factors.” Id.

        Furthermore, Kakireddy and his co-conspirators (his recruited students)

 ignored the purpose of the F-1 student visa program. In fact, Kakireddy has remained

 in the United States since 2014, totaling over five years in the United States before

 he was arrested on January 31, 2019. (Id. at ¶ 4). During his time with the University,

 Kakireddy illegally obtained employment as an analyst/software engineer making

 approximately $70,000 a year. (Id. at ¶ 54-55). Those jobs could have gone to U.S.

                                           19
Case 2:19-cr-20026-GAD-EAS ECF No. 91 filed 08/15/19         PageID.415    Page 20 of 25



 citizens or to other foreign students who were lawfully in the United States on valid

 visas.

                2.    Deterrence, protection of the public, and nature and
                      circumstances of the offense

          As noted above, Kakireddy will likely be deported, and thus the likelihood of

 him re-engaging this same criminal conduct is highly unlikely. However, the Court’s

 contemplation of §3553 factors regarding deterrence and protection of the public is

 not solely limited to whether the defendant is likely to be a recidivist. Rather, this

 Court is likewise required, in determining an appropriate sentence, to seek to deter

 others from committing such crimes and protect the public. This Court should do so

 in this instance. According to an SEVP summary issued by U.S. Immigration and

 Customs Enforcement in November 2016, 1.23 million foreign students were

 studying in the United States on student visas in 2016, and 8697 schools were

 certified to enroll international students.3 A within guideline sentence for Kakireddy

 would invariably serve as a warning and act as deterrence to any of the other one

 million other foreign students that are currently studying on student visas in the

 United States who may contemplate engaging in similar such conduct.

          Additionally, this action and the related actions—19-cr-20024 and 19-cr-

 20025—have garnered considerable media attention since the indictments were



 3
     https://www.ice.gov/doclib/sevis/pdf/byTheNumbersDec2016.pdf (p.2).
                                            20
Case 2:19-cr-20026-GAD-EAS ECF No. 91 filed 08/15/19          PageID.416   Page 21 of 25



 unsealed. Presumably, the sentences in this case and the related cases will also

 receive media focus. As a result, strong sentences against Kakireddy and the other

 defendants would have a considerable chance of deterring other foreign students—

 and some schools—from abusing the F-1 student visa program. In addition, as

 indicated by the success Kakireddy and the other defendants had in recruiting

 students to the University, their vast network of students and potential students, at

 the very least, could be deterred by guidelines sentences.

       In light of the above, a deterrent prison sentence between 37 and 46 months

 is appropriate.

              3.    Characteristics of the defendant

       Kakireddy indicated he has a loving and supportive family in India. (PSR,

 ¶¶ 43-45). He attended a university in India and obtained a degree in engineering,

 and he also earned a Master’s degree from Silicon Valley University in computer

 science. Thus, he has received support, love, and opportunities that many defendants

 who appear before this Court have not, and yet he still chose to commit the instant

 offense. As a result, Kakireddy’s personal characteristics counsel that a prison

 sentence of 37–46 months is appropriate.

              4.    Need to avoid sentencing disparities

       The Supreme Court reiterated in Booker that reducing sentencing disparities

 was Congress’s basis statutory goal in passing the Federal Sentencing Guidelines.

                                          21
Case 2:19-cr-20026-GAD-EAS ECF No. 91 filed 08/15/19         PageID.417    Page 22 of 25



 United States v. Booker, 543 U.S. 220, 250, 264 (2005). Thus, calculating and

 analyzing the guidelines is the primary driver in avoiding unwanted sentencing

 disparities. Id. at 264 (“The district courts, while not bound to apply the Guidelines,

 must consult those Guidelines and take them into account when sentencing.”).

 Indeed, by correctly calculating and considering the Sentencing Guidelines, the

 Court automatically gives “significant weight and consideration to the need to avoid

 unwarranted disparities.” Gall v. United States, 552 U.S. 38, 54 (2007). A variance

 in this matter would result in unwanted sentencing disparities.

       Furthermore, a variance based on deportation would be contrary to the dictates

 of 18 U.S.C. § 3553 (2)(A) which requires that the defendant’s sentence reflect the

 seriousness of the offense (see above). By allowing the Court to consider deportation

 as grounds for a downward variance for illegally harboring aliens, it would

 invariably grant the Court the authority to vary for an alien yet bar similar such

 consideration for an equally culpable defendant, who happens to be a U.S. citizen,

 and not subject to deportation. In essence, it would reward an alien while punishing

 a United States citizen for committing the exact same offense. This is universally

 unfair and would likewise run afoul of 18 U.S.C. Section 3553(a)(6) which mandates

 that the Court’s sentence should “… avoid unwarranted sentence disparities among

 defendants with similar records who have been found guilty of similar conduct.”

       Here, Kakireddy sought to abuse the student visa program so that he could

                                           22
Case 2:19-cr-20026-GAD-EAS ECF No. 91 filed 08/15/19        PageID.418    Page 23 of 25



 remain and work in the United States illegally. While illegally present in the United

 States he chose to line his own pockets when he proposed illegally making money

 by managing, harboring and recruiting other foreign students to do the same. In

 return for his recruitment efforts, he received more than $32,000 in profit. Such

 calculated criminal acts do not warrant a downward variance.

       Therefore, this factor favors a prison sentence within the guidelines range of

 37–46 months. However, the Court should also be mindful of the other five recruiters

 charged in this case, for whom it will have to impose sentences in the near future.

 Like Kakireddy, those recruiters helped enlist hundreds of foreign citizens to enroll

 at the University with the goal of fraudulently maintaining their status in the United

 States. See United States v. Kakireddy et al., No. 19-cr-20026 (E.D. Mich.) (Dkt. #

 1, PgID 9).

III.   CONCLUSION

       For the reasons stated above, the government recommends this Court

 sentence Kakireddy within the existing guideline range of 37–46 months.




                                          23
Case 2:19-cr-20026-GAD-EAS ECF No. 91 filed 08/15/19   PageID.419   Page 24 of 25



                                        Respectfully submitted,

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                                      24
Case 2:19-cr-20026-GAD-EAS ECF No. 91 filed 08/15/19        PageID.420    Page 25 of 25



                           CERTIFICATE OF SERVICE

       I hereby certify that on August 15, 2019, I electronically filed the foregoing

 paper with the Clerk of the Court using the ECF system, which will provide

 notification to all counsel of record.




                                               /s/Timothy P. McDonald
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                                          25
